                         Case 4:21-cr-00517 Document 11 Filed on 10/21/21 in TXSD Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                                                               CRIMINAL DOCKET
HOUSTON DIVISION                                                                                              No.
                                                                                                                    4:21cr517
USAO Number:       2021R07906                                    United States Courts
                                                               Southern District of Texas
Magistrate Number: H-21-mj-2016
                                                                        FILED
CRIMINAL INDICTMENT
                                                                                                                    Hanks
                                                      Filed        October 21, 2021           Judge:
                                                             Nathan Ochsner, Clerk ofATTORNEYS:
                                                                                      Court
UNITED STATES of AMERICA
                                                                          Jennifer B. Lowery, Acting USA                    (713) 567-9000
 vs.
                                                                          MICHEAL E. DAY, AUSA                               (713) 567-9000

                                                                                                                           Appt'd     Private
 RICARDO CESAR GUEDES                                                        Rosa Victoria Gilcrease-Garcia

 aka William Ericson Ladd




                Ct. 1: False Statement in Passport Application [18 U.S.C. § 1542]

 CHARGE: Ct. 2: False impersonation of a U.S. citizen [18 U.S.C. § 911]
  (TOTAL)
          Ct. 3: Entry by false pretenses to a secure area of any airport or seaport [18 U.S.C. § 1036]
(COUNTS:)
  (    3   )




PENALTY: Ct. 1: Not more than 5 years imprisonment and/or a fine of not more than $250,000, not more than 3 years supervised
                  release, and a $100 special assessment.
                  Ct. 2: Not more than 3 years imprisonment; a fine of up to $250,000; not more than 1 year supervised release; and a $100
                  special assessment.
                  Ct. 3: Not more than 6 months imprisonment; a fine of up to $5,000; not more than 1 year supervised release; and a $10
                  special assessment.




           In Jail FDC                                                     NAME & ADDRESS
                                                                           of Surety:
           On Bond

           No Arrest

                                                              PROCEEDINGS:
